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                      UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                            EASTERN DIVISION

  JOHN BALEJA, on behalf of himself and                  Civil Case No.:
  all others similarly situated,
                                                         5:17-cv-00235-JGB-SP
               Plaintiff,

         v.                                              CLASS ACTION

  NORTHROP GRUMMAN SPACE AND
                                                         ORDER GRANTING JOINT
  MISSION SYSTEMS CORP. SALARIED
                                                         STIPULATION TO MODIFY CASE
  PENSION PLAN; NORTHROP
                                                         SCHEDULE
  GRUMMAN BENEFIT PLANS
  ADMINISTRATIVE COMMITTEE;
                                                         Judge: Hon. Jesus G. Bernal
  NORTHROP GRUMMAN
  CORPORATION; and DOES 1 through 10,
  inclusive,

               Defendants.


        Having considered the parties’ Joint Stipulation to Modify Case Schedule (the
  “Joint Stipulation”), and finding good cause to do so, the Court hereby GRANTS the
  Joint Stipulation and ORDERS the following deadlines:


                 Event                     Current Deadline Proposed Deadline
  Deadline for Designation of              4/10/2020        4/10/2020
  Rebuttal Expert Witnesses
  All Discovery Cut-Off (including         5/6/2020                 7/6/2020
  hearing of discovery motions)
  Deadline to File Summary                 5/20/2020                7/20/2020
  Judgment Motion
  Deadline to File Opposition to           6/19/2020                8/18/2020
  Summary Judgment Motion



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                        ORDER GRANTING JOINT STIPULATION TO MODIFY CASE SCHEDULE
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                Event                    Current Deadline Proposed Deadline
  Deadline to File Reply in Further      7/3/2020         9/1/2020
  Support of Summary Judgment
  Motion
  Dispositive Motion Hearing Cut-        7/13/2020                9/14/2020
  Off
  Last Day to Conduct Settlement         8/3/2020                 10/2/2020
  Conference
  Final Pre-Trial Conference             8/31/2020 at             11/2/2020 at 11:00
                                         11:00 a.m.               a.m.
  Court Trial                            9/15/2020 at 9:00        11/17/2020 at 9:00
                                         a.m.                     a.m.

  IT IS SO ORDERED.


   Dated: April 9, 2020                              ____
                                                        ________________________
                                                     ____________________________
                                                     HONN. JESUS
                                                     HON.  JESUS G. BERNAL
                                                                       BER
                                                                         RNAL
                                                     U.S.
                                                     U.S  District
                                                       S. District Judge




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